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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


TIMOTHY C. PIGFORD, et al.
     PLAINTIFFS

v.                                                         CIVIL ACTION NO. 97-1978 (PLF)

TOM VILSACK, SECRETARY, THE UNITED
STATES DEPARTMENT OF AGRICULTURE
     DEFENDANT


CECIL BREWINGTON, et al.
     PLAINTIFFS

v.                                                         CIVIL ACTION NO. 98-1693 (PLF)

TOM VILSACK, SECRETARY, THE UNITED
STATES DEPARTMENT OF AGRICULTURE
     DEFENDANT


           IN RE: THE TRACK B ARBITRATION OF JAMES STEPHENSON
                     CLAIM NO. 18759, ARBITRATION NO. 064

                         MOTION OF CROSS & KEARNEY PLLC
                        FOR ATTORNEYS’ FEES AND EXPENSES

       Cross & Kearney PLLC moves for an award of attorneys’ fees and expenses incurred in

its successful representation of James Stephenson. Mr. Stephenson was the prevailing party in a

Track B arbitration claim against the USDA in In Re: The Arbitration of James Stephenson,

Claim No. 18759, Arbitration No. 064. Cross Kearney seeks:

Fees in representing Mr. Stephenson                                       $221,392.25

Fees incurred by Cross Kearney in seeking payment of fees and expenses $11,431

Fees incurred by the undersigned in seeking payment                       $19,600

Expenses                                                                  $21,817.92

       Total                                                              $274,241.17.
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                                          Respectfully submitted,


                                          /s/ David U. Fierst
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                              CERTIFICATE OF SERVICE

       I hereby certify that the foregoing Motion for Attorneys’ Fees and Expenses was served
     th
this 7 day of July, 2014 by the Court’s ECF on all counsel of record.

                                          /s/ David U. Fierst




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